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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

NIMITZ TECHNOLOGIES LLC,

           Plaintiff,
                                          C.A. No. 1:21-cv-01247-CFC
                        v.

CNET MEDIA, INC.,

           Defendant.

NIMITZ TECHNOLOGIES LLC,

           Plaintiff,                     Case No. 1:21-cv-01362-CFC

                        v.

BUZZFEED, Inc.,

           Defendant.


NIMITZ TECHNOLOGIES LLC,

           Plaintiff,                     Case No. 1:21-cv-01855-CFC

                        v.

IMAGINE LEARNING LLC,

           Defendant.


NIMITZ TECHNOLOGIES LLC,

           Plaintiff,                     Case No. 1:22-cv-00413-CFC

                        v.

BLOOMBERG L.P.,

           Defendant.
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                                           NOTICE

       Notice is hereby given that Plaintiff Nimitz Technologies LLC has filed a petition for a

writ of mandamus with the United States Court of Appeal for the Federal Circuit, a copy of which

is attached hereto.

Dated: November 16, 2022



                                                 /s/ George Pazuniak
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